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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION

UNITED STATES OF AMERICA

y Case No. 1:23-MJ-32
JAMES GORDON MEEK,

Defendant.

 

ORDER

Upon the motion of the United States, by and through its attorneys, and the defendant,
James Gordon Meek, by and through his attorney, and finding in accordance with 18 U.S.C. §
3161, for the reasons stated in the Consent Motion to Extend Time for Indictment, that the ends
of justice served by granting the extension outweigh the best interests of the public and the
defendant in a speedy trial, it is hereby,

ORDERED that the time period for indicting the defendant be and is hereby extended up
to and including March 30, 2023. Accordingly, the delay resulting from the pending motion for

extension shall be excluded in computing the time within which an indictment must be filed.

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’ Leonie M. Brinkeina
United Siates District Judge

 

Date: U2 %

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